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                                                         January 10, 2023

By ECF

Molly Dwyer, Clerk of Court
Office of the Clerk
U.S. Court of Appeals for the Ninth Circuit
P.O. Box 193939
San Francisco, CA 94119‐3939
www.ca9.uscourts.gov

Re:   Notice of Supplemental Authority in Migrant Clinicians Network
      v. U.S. Environmental Protection Agency, No. 21‐70719

Dear Ms. Dwyer:

      Pursuant to Federal Rule of Appellate Procedure 28(j), Petitioners
advise the Court of two recent decisions: Center for Food Safety v. Regan (CFS
v. Regan), No. 19‐72109, 2022 WL 17826872 (9th Cir. Dec. 21, 2022), and
Center for Biological Diversity v. EPA (CBD v. EPA), No. 15‐1054, 2022 WL
17878791 (D.C. Cir. Dec. 23, 2022). Although neither decision vacated the
unlawful pesticide registrations at issue, the reasoning of both decisions
supports Petitioners’ argument that vacatur is warranted here. See ECF
No. 54, at 67‐75.

      In CFS v. Regan, this Court underscored the seriousness of EPA’s
“habit” of violating the ESA, explaining that it “undermines” the structure
of government when EPA “deliberately ignores Congress’s legislative
command.” CFS v. Regan, 2022 WL 17826872, at *8. The D.C. Circuit
likewise decried “EPA’s broken system of ESA (non)review,” CBD v. EPA,
2022 WL 17878791, at *15, observing that the Agency’s “ongoing,
widespread failure to comply with the ESA when it registers pesticides . . .
plainly counsels against remand without vacatur,” id. at *12.
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      Vacatur is plainly appropriate here. Unlike in CBD v. EPA, the parties
have not reached a negotiated settlement to leave the registration in place.
See 2022 WL 17878791, at *9‐11, *13. And in contrast to CFS v. Regan, this is
not a case in which the challenged pesticide is less toxic than the market
alternatives, such that vacatur would risk greater environmental harm. See
2022 WL 17826872, at *12‐13, *16 (“Remand without vacatur here maintains
‘the enhanced protection of the environmental values covered by [the
registration]’ because sulfoxaflor has a more favorable toxicological profile
compared to alternatives.”); see also CBD v. EPA, 2022 WL 17878791, at *12
(explaining that the court declined to vacate an earlier pesticide registration
in CBD v. EPA, 861 F.3d 174 (D.C. Cir. 2017), notwithstanding EPA’s ESA
violation, because the pesticide “was generally less toxic than existing
alternatives”). Rather, EPA once again violated the ESA but failed to show
that vacatur presents a lesser risk of environmental harm than leaving the
registration in place.



Dated: January 10, 2023                 Respectfully submitted,

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Justice




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